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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

In Re: Michelle C. Taylor                             )             CASE NO. 14-30022-KLP
                                                      )             Chapter 13

        AKA: Michelle Caple Taylor

        Debtor Address(es): 5701 Barnwood Drive
                            Richmond, VA 23234

        Last four digits of Social Security No(s).:       8883


    MOTION TO DISMISS, NOTICE OF MOTION AND NOTICE OF THE HEARING

        NOW COMES the Chapter 13 Trustee and moves this Court to dismiss this case as provided
in 11 U.S.C. 1307(c)(6) as the Debtor(s) are in default in making the payments under the plan and 11
U.S.C. 1307(C)(1) for unreasonable delay that is prejudicial to creditors.

        Carl M. Bates, Chapter 13 Trustee, has filed papers with the court to dismiss this case.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

        If you do not want the court to grant the relief sought in the motion, or if you want the court to
consider your views on the motion, then on or before seven (7) days before the date of the hearing, you
or your attorney must:




Carl M. Bates
Chapter 13 Trustee
P.O. Box 1819
Richmond, VA 23218
(804)237-6800
VSBN 27815
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   X File with the court, at the address shown below, a written request for a hearing [or a written
response pursuant to Local Bankruptcy Rule 9013-1(H)]. If you mail your request for hearing (or
response) to the court for filing, you must mail it early enough so the court will receive it on or before
the date stated above.

                                        Clerk of Court
                                        United States Bankruptcy Court
                                        701 East Broad Street, Suite 4000
                                        Richmond, VA 23219




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Chapter 13 Trustee
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                    You must also mail a copy to:
                                       Carl M. Bates, Chapter 13 Trustee
                                       Chapter 13 Trustee
                                       P.O. Box 1819
                                       Richmond, VA 23218

  _    Attend a hearing to be scheduled at a later date. You will receive separate notice of hearing. If
no timely response has been filed opposing the relief requested, the court may grant the relief
without holding a hearing.

   X Attend the hearing on the motion scheduled to be held on December 10, 2014 at 11:15 AM
at United States Bankruptcy Court, 701 East Broad Street, Richmond, VA 23219, Room 5100.

         If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought in the motion and may enter an order granting that relief.

Dated: October 29, 2014                             /s/ Carl M. Bates
                                                    Carl M. Bates
                                                    Chapter 13 Trustee
                                                    P.O. Box 1819
                                                    Richmond, VA 23218
                                                    VSBN 27815


                                         Certificate of Service

I hereby certify that I have this 29th day of October, 2014, by mail, hand or electronically delivered a
true copy of the foregoing Notice of Motion and Motion to the debtor(s) Michelle C. Taylor, 5701
Barnwood Drive, Richmond, VA 23234 and debtor(s) attorney, Bruce W. White, Esquire, via
e-mail: gbbwwhite@aol.com.


                                                    /s/ Carl M. Bates
                                                    Carl M. Bates
                                                    Chapter 13 Trustee



Carl M. Bates
Chapter 13 Trustee
P.O. Box 1819
Richmond, VA 23218
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